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AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                        Sheet 1



                                          UNITED STATES DISTRICT COURT
                                                          Middle District of Alabarna
                                                                         )
              UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                                                         )
                                   v.                                    )
            STEPHEN ANTHONY CAFFEY, JR.                                  )
                                                                                    Case Number: 2:17cr131-02-MHT
                                                                         )
                                                                         )          USM Number: 17210-002
                                                                         )
                                                                                    Carly B. Wilkins
                                                                         )          Dekndant's Attorney
THE DEFENDANT:

g pleaded guilty to count(s)          6 of the Indictment on August 7, 2017

0pleaded nolo contendere to count(s)
 which was accepted by the court.
E was found guilty on count(s)
  after a plea of not guilty.

Thc defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                       Offense Ended              Count

 18 USC 1                             onspiraoy                                          rrauct            '312412017                  6




       The defendant is sentenced as provided in pages 2 through                7         of this judgment. The sentence is imposed pursuant to
thc Sentencing Reform Act of 1984.
❑ Thc defendant has been found not guilty on count(s)

   Count(s)      7 of the I ndictment                  g is       El are dismisscd on the motion of thc United States.

         It is ordered that the defcndant must notify the United States attorney for this district within 30 das of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fuliy paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances,

                                                                         11/29/2017
                                                                        Date of Imposition orJudgment



                                                                         Is/ Myron H. Thompson
                                                                        Signature ofJudge




                                                                         MYRON H. THOMPSON, UNITED STATES DISTRICT JUDGE
                                                                        Name and Title of Judge



                                                                         1/8/2018
                                                                        Da te
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AO 245B (Rev. 09117) Judgment in Criminal Case
                     Sheet 2 — Imprisonment

                                                                                                    Judgment -- Page     of   7
DEFENDANT: STEPHEN ANTHONY CAFFEY, JR.
CASE NUMBER: 2:17cr131-02-MHT

                                                          IMPRISONMENT

        The defendant is hercby committed to the custody of the Federal Bureau ofPrisons to bc imprisoned for a total
term of:

  2 Weeks.




      El The court makes the following recommendations to the Bureau ofPrisons:




      El Thc defendant is remanded to the eustody of the United States Marshal.

      EA Thc dcfcndant shall surrcnder to the United States Marshal for this district:

          g at        02:00                      ❑ a.m.       g p.m.       on      1/10/2018

          II as notified by the United States Marshal.

      II The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          El before 2 p.rn. on

          El as notified by the United States Marshal.

          El as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
I havc cxecuted this judgrnent as follows:




          Defendant delivered on                                                         to

 at                                               , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL



                                                                         By
                                                                                              DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09117) Judgment in a Criminal Case
                     Sheer 3 — Supervised Release
                                                                                                      Judgment—Page     3    of
DEFENDANT: STEPHEN ANTHONY CAFFEY, JR.
CASE NUMBER: 2:17cr131-02-MHT
                                                     SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :
 4 Years.




                                                    MANDATORY CONDITIONS

1.   You must not cotnmit another federal, state or local crime.
     You must not unlawfully possess a controlled substanee.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one dnig t.est within 15 days of release front
     imprisonment and at least two periodic dnig tests thereafter, as determined by the court.
            El Thc above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. 6-7,eck ifapplicable)
4.    ❑ You must make restitution in accordance with 18 U.S.c. §§ 3663 and 3663A or any other statute authorizing a sentence or
        restitution. (check ifapplicable)
5.      You must cooperate in the collection of DNA as dirccted by the probation officer. (check ifapplicable)
6.    CI You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901. o seq.) as
           directed by the probation officer, thc Bureau of Prisons, or any state sex offendcr rcgistration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offcnsc. (check f
                                                                                          i applicable)

7.    El You must participatc in an approved program for domestic violence. (check applicable)




You must comply with the standard conditions that have been adopted by this court as wetl as with any other conditions on the attached
pagc.
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 AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 3A — Supervised Release
                                                                                                 Judgment—Page        4        of
DEFENDANT: STEPHEN ANTHONY CAFFEY, JR.
CASE NUMBER: 2:17crl 31-02-MHT

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because thcy establish the basic expectations for your behavior while on supervision and identify the minimum tools necded by probation
officcrs to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the fcderal judicial district where you are authorized to reside within 72 hours of your
       rcicase from impiisonment, unless the probation officer instructs you to rcport to a diffcrcnt probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you arc authorized to residc without first getting permission froni thc
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. lf you plan to change where you live or anything about your living
       arrangements (such as the pcople you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or cxpccted change.
6.     You must allow thc probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by thc conditions of your supervision that he or shc observes in plain view.
7.     You must work full time (at lcast 30 hours per week) at a lawful type of employment, unless the probation officer excuscs you from
       doing so. If you do not have full-time employment you must try to find full-time employment,unless thc probation officer cxcuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation offteer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated eireuinstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected changc.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with thai person without first getting thc permission ofthe
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.    You must not own, possess, or have access to a firearm, ammunition, destructive devicc, or dangcrous weapon (i.c., anything that was
       designed, or was modified for, the specific purpose of causing bodily iMury or death to another person such as nunchakus or tasers).
l 1.   You must not act or make any agreement with a law enforcemcnt agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the pmbation officer may
       rcquire you to notify thc person about the risk and you must comply with that instruction. Thc probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officcr has instnicted me on the conditions spccificd by the court and has provided rne with a writtcn copy of this
judgment containing these conditions. For further infonnation regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.useourts.gov.


Defendant's Signature                                                                                      Date
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 AO 245B(Rev. 09/17) Judgment in a Criminal Case
                     Sheet 3D — Supervised Release
                                                                                            Judgment Page
DEFENDANT: STEPHEN ANTHONY CAFFEY, JR.
CASE NUMBER: 2:17cr131-02-MHT

                                       SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall participate in the home confinement program, with electronic monitoring, for a period of 1 month, to
begin at at time designated by the probation officer. The defendant shall follow the procedures specified by the probation
officer and pay the cost of electronic monitoring.

2. The defendant shall participate in a program approved by the United States Probation Office for substance abuse as
directed, which will include an assessment (to be filed with the court under seal) and testing to determine whether he has
reverted to the use of drugs. The defendant shall contribute to the cost of any treatment based on his ability to pay and the
availability of third-party payments.

3. The defendant shall refrain from the use of alcohol.

4. The defendant shall participate in a mental-health treatment program, at a minimum of 2 months, twice a month,
approved by the United States Probation Office as directed and contribute to the cost based on his ability to pay and the
availability of third-party payments.

5. The defendant shall provide the probation officer any requested financial information.

6. The defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.

7. The defendant shall obtain a GED.

8. The defendant shall reside with his father, Stephen A. Caffey,Sr., unless approved by the court.

 9. The defendant shall not visit or be present in the community of Chisolm in Montgomery, Alabama.

 10. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
 court.
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 5 — Criminal Monetary Penatties
                                                                                                        Judgment — Page     6      of       7
 DEFENDANT: STEPHEN ANTHONY CAFFEY, JR.
 CASE NUMBER: 2:17cr131-02-MHT
                                              CRIMINAL MONETARY PENALTIES
      The dcfendant must pay the total criminal monetary penalties undcr the schedule of payments on Sheet 6.


                     Assessment                   JVTA Assessment*                  Fine                      Restitution
TOTALS             $ 100.00

                                                               TBA

 V1 The determination of restitution is deferred until                   . An Amended Judgment in a Critninal Case(AO 2450 will be entered
    after such determination,

 n    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified othenvise in
      the priority order or percentage payment column bclow. However, pursuant to 18           § 3664(i), all nonfedcral victims must bc paid
      before the United States is paid.

 Name of Payee                                                       Total Loss**            Restitution Ordered            Prioritv or Pereentne




TOTALS                                                         0.00                                    0.00


El     Restitution amount ordered pursuant to plea agreement $

 LI    Thc defendant must pay interest on restitution and a fine of more than S2,500, unless the restitution or fine is paid in full hefore thc
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0. All of the payment options on Shcct 6 may bc subjeci
       to penalties for delinqucncy and default, pursuant to 18 U.S.C. § 36I2(g).

O      The court detcnnined that the defendant does not have the ability to pay interest and it is ordered that:

       ❑ thc interest requirement is waived for the           LI fine     E restitution.

       O the interest requirement for the         ❑    fine     LI    restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015,Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Roy. 09n   ludgmem in a Criminal Case
                    Sheet 6 — Schedule ofPayments
                                                                                                           Judgment — Page      7     of           7
DEFENDANT: STEPHEN ANTHONY CAFFEY, JR.
CASE NUMBER: 2:17cr131-02-MHT


                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A         Lump sum payrnent of $       100.00                due immediately, balance due

          ❑     not later than                                   ,or
          VI    in aecordance with 0 C,          ❑ D,        ❑    E, or         F below; or

13   ❑    Payment to begin immediately (may be combined with              0C,         ❑ D, or      LI F below); or

C    ❑    Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                            ovcr a period of
                       (e.g., months or years), to commence                      (e.g.. 30 or 60 days) after the date of this judgment; or

D    0 Payment in equal                      (ag., weekly, monthly, quarterly) installments of $                         ovcr a period of
                    (e.g., months or years), to commence                     (e.g., 30 or 60 days) after release from imprisonment to a
       term ofsupervision; or

E    ❑    Payment during the term of supervised release will eommence within                  (e.g., 30 or 60 days) after release from
          imprisonment. Thc court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    m    Special instructions regarding the payment of criminal monetary penalties:

           All criminal monetary payments are to be paid to the Clerk, United States District Court, One Church Street,
           Montgomery, Alabama 36104.




Unless the court has expressly ordered otherwise,if thisjudgmentimposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




O    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including de(endant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




O    Thc defendant shall pay the cost of prosecution.

LI   The defendant shall pay the following court cost(s):

LI   The defendant shall forfeit the defendant's intcrest in the fol]owing property to the Unitcd States:



Payments shall be applied in the following order:(1)assessment,(2)restitution principal,(3)restitution interest,(4)fine principal,(5)fine
interest,(6) community restitution,(7)JVTA assessment,(8) penalties, and (9) costs, including cost of prosecution and court costs.
